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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

YOUNG CONSERVATIVES         TEXAS §   OF
FOUNDATION                         §
    Plaintiff,                     §
                                   §
     v.                            §
                                   §                                    CIVIL ACTION NO. 4:20-CV-973
THE UNIVERSITY OF NORTH TEXAS, THE §
UNIVERSITY OF NORTH TEXAS SYSTEM, §                                            JUDGE SEAN D. JORDAN
NEAL SMATRESK, PRESIDENT OF THE §
UNIVERSITY OF NORTH TEXAS and §
SHANNON GOODMAN, VICE PRESIDENT §
FOR ENROLLMENT OF THE UNIVERSITY §
OF NORTH TEXAS;                    §
     Defendants.                   §

                            PLAINTIFF’S NOTICE TO THE COURT

TO THE HONORABLE SEAN D. JORDAN:

        Plaintiff, the Young Conservatives of Texas (YCT), writes to notify the Court that Defendants,

(collectively UNT) have filed an unopposed motion for a forty-day extension to the briefing schedule in its

appeal of this Court’s final judgment in the Fifth Circuit Court of Appeals. (Exhibit A). While YCT did

not oppose this extension, it does undermine UNT’s pending stay motion in this Court which argues that

this Court’s current injunction is an emergency warranting expedited relief.


                                                 Respectfully submitted,

                                                 /s/Chance Weldon
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                                             Attorneys for Plaintiff




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed on June 3, 2022, with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.


                                             /s/Chance Weldon
                                             CHANCE WELDON




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